
BARFIELD, Judge,
dissenting.
It is not clear what the majority is asking the judge to reconsider other than Dr. Lo*1219well’s testimony and some diagnostic testing, none of which is specifically causally related to the accident by any medical testimony in the record. While someone might have rendered an opinion on causal relationship, no one did so on this record.
Others who testified about claimant’s complaints of pain never related those complaints to the accident or differentiated them from the same type of complaints from claimant before the accident.
Apparently the majority wants the judge to think about the evidence some more, but it is unclear as to what such further review and explanation will accomplish. In my view, we have a simple failure of proof by the claimant, and the judge’s order should be affirmed.
